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                     EXHIBIT “A”
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 A lb.


;_:_t CT Corporation                                                                                        Service of Process
                                                                                                            Transmittal
                                                                                                            08/03/2021
                                                                                                            CT Log Number 540013501
         TO:         Kim Lundy- Email
                     Walmart Inc.
                     702 SW 8TH ST
                     BENTONVILLE, AR 72716-6209


         RE:         Process Served in Florida

         FOR:        Wal-Mart Stores East, LP (Domestic State: DE)




         ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

         TITLE OF ACTION:                                 Maiquez Viviana, etc., Pltf. vs. Wal-Mart Stores East, LP, etc., Dft.
         DOCUMENT(S) SERVED:                              Summons, Complaint
         COURT/AGENCY:                                    Broward County Circuit Court, FL
                                                          Case # CACE21014037
         NATURE OF ACTION:                                Personal Injury - Slip/Trip and Fall - 08/02/2020, at 2300 W. Atlantic Boulevard,
                                                          Pompano Beach, Florida 33069
         ON WHOM PROCESS WAS SERVED:                      C T Corporation System, Plantation, FL
         DATE AND HOUR OF SERVICE:                        By Process Server on 08/03/2021 at 01:45
         JURISDICTION SERVED:                             Florida
         APPEARANCE OR ANSWER DUE:                        Within 20 days after service, exclusive of the day of service (Document(s) may
                                                          contain additional answer dates)
         ATTORNEY(S) / SENDER(S):                         James P. Gitkin
                                                          Salpeter Gitkin, LLP
                                                          3864 Sheridan Street
                                                          Hollywood, FL 33021
                                                          954-467-8622
         ACTION ITEMS:                                    CT has retained the current log, Retain Date: 08/03/2021, Expected Purge Date:
                                                          08/08/2021

                                                          Image SOP


         REGISTERED AGENT ADDRESS:                        C T Corporation System
                                                          1200 South Pine Island Road
                                                          Plantation, FL 33324
                                                          877-564-7529
                                                          MajorAccountTeam2@wolterskluwer.com
         The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion, and should not otherwise be
         relied on, as to the nature of action, the amount of damages, the answer date, or any other information contained in the included documents. The recipient(s)
         of this form is responsible for reviewing and interpreting the included documents and taking appropriate action, including consulting with its legal and other
         advisors as necessary CT disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be contained
         therein.




                                                                                                            Page 1 of 1 / EC
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                                                            '4 Wolters Kluwer
                       PROCESS SERVER DELIVERY DETAILS




Date:                     Tue, Aug 3, 2021

Server Name:              Anjelica Fiol




Entity Served             WAL-MART STORES EAST, LP

Case Number               CACE-21-014037 (25)

Jurisdiction              FL
   Case 0:21-cv-61851-RAR Document 1-2 Number:
                                 Case   Entered CACE-21-014037
                                                on FLSD Docket 09/01/2021
                                                                Division: 25Page 4 of 7
Filing # 130338700 E-Filed 07/09/2021 11:22:00 AM


                     IN THE CIRCUIT COURT OF THE SEVENTEENTH JUDICIAL CIRCUIT
                               IN AND FOR BRO WARD COUNTY, FLORIDA

         VIVIANA MAIQUEZ, individually,

                 Plaintiff,

         V.

         WAL-MART STORES EAST, LP,
         a foreign corporatidn,

                Defendant.


                                                          SUMMONS
        THE STATE OF FLORIDA:

        To All and Singular the Sheriffs of said State:

                YOU ARE HEREBY COMMANDED to serve this Summons and a copy of the Complaint in this
        action on Defendant: WAL-MART STORES EAST, LP, a foreign corporation:

        by serving its registered agent: CT Corporation System
                                          1200 South Pine Island Road
                                          Plantation, FL 33324

              Each defendant is required to serve written defenses to the complaint on JAMES P. GITKIN,
        ESQUIRE, Florida Bar No. 57001, Plaintiffs attorneys, whose address is:

                SALPETER GIT1UN, LLP
                3864 Sheridan Street
                Hollywood, FL 33021
                Tel: (954) 467-8622

        within twenty (20) days after service of this summons on that defendant, exclusive of the day of service, and
        to file the original of the defenses with the clerk of this court either before service on plaintiff's attorney or
        immediately thereafter. If a defendant fails to do so, a default will be entered against that defendant for the
        relief demanded in the complaint or petition.

                WITNESS my hand and seal of said Court

                                                                     BRENDA D. FORMAN
                  JUL 13 2021                                        As Clerk of said Court


                                                                     By: Deputy Clerk
                                                                                                 BRENDA D. F RMAN




                               6LL
          *** FILED: BROWARD COUNTY, FL BRENDA D. FORMAN, CLERK 07/09/2021 11:21:57 AM.****
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Filing # 130338700 E-Filed 07/09/2021 11:22:00 AM



                    IN THE CIRCUIT COURT OF THE SEVENTEENTH JUDICIAL CIRCUIT
                              IN AND FOR BRO WARD COUNTY, FLORIDA

         VIVIANA MAIQUEZ, individually,

                 Plaintiff,
                                                                Case No.:
         V.


         WAL-MART STORES EAST, LP,
         a foreign corporation,

               Defendant.


                                                    COMPLAINT

                Plaintiff, VIVIANA MAIQUEZ ("Plaintiff'), individually, by and through the undersigned

        attorney, seeks damages from Defendant, WAL-MART STORES EAST, LP ("WALMART"), a

        foreign corporation, and in support thereof states the following:

                         1.     This in an action for damages exceeding Thirty Thousand Dollars, exclusive of

        attorneys' fees and costs and pre-judgment interest.

                         2.     At all times material hereto, Plaintiff was, and is, a resident of Miami-Dade,

        Florida, over the age of eighteen, and otherwise sui furls.

                         3.     At all times material hereto, WALMART was, and is, a foreign corporation

        conducting substantial and not isolated activities in Florida by virtue of owning and operating various

        stores throughout the State, including the store (the "Subject Store") located at 2300 W. Atlantic

        Boulevard, Pompano Beach, Florida 33069.

                         4.     Venue is proper in Broward County, Florida because the acts and/or omissions

        giving rise to this action occurred in Broward County, Florida.

                         5.     All conditions precedent to the bringing of this action have been complied with

        and/or waived.
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                                          FACTUAL BACKGROUND

                     6.      On August 2, 2020, Plaintiff was a lawful patron of the Subject Store and was

     shopping with her husband.

                     7.      While in the Subject Store, Plaintiff's husband slipped in water, and while

    Plaintiff attempted to prevent him from falling, she was brought to the ground in the process, resulting

     in serious personal injuries.

                     8.      Through information and belief, failures on the part of employees of

     WALMART led to the accumulation of water on the floor.

                     9.      As a direct and proximate result of Defendant's failure to maintain a safe

     premises, Plaintiff was injured in and about her body and extremities, suffered pain therefrom, incurred

     medical expenses in the treatment of her injuries, and suffered physical handicap. These injuries are

     either permanent or continuing in nature, and she will suffer losses and impairment in the future.

                     10.     As a further direct and proximate result of the above-described acts and/or

     omissions, Plaintiff suffered significant financial losses.

                                               COUNT I
                                       NEGLIGENCE as to WALMART

             Plaintiff reaffirms and realleges the allegations contained in Paragraphs 1 through 10 as if fully

     set forth herein.

                     11.     WALMART had a duty to the general public, including Plaintiff, to maintain

    the Subject Store in a safe condition.

                     12.     WALMART breached this duty by allowing water to accumulate on the floor,

    and by failing to adequately inspect the premises.

                     13.     Based on the time of day the incident occurred, WALMART knew, or should

    have known, of this dangerous condition and failed to do anything to remediate the condition.




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                     14.     As a direct and proximate result of Defendant's negligent acts and/or

    omissions, Plaintiff was injured in and about her body and extremities, suffered pain therefrom, incurred

    medical expenses in the treatment of her injuries, and suffered physical handicap. These injuries are

    either permanent or continuing in nature, and she will suffer losses and impairment in the future.

                     15.     As a further direct and proximate result of the above-described negligent acts

    and/or omissions, Plaintiff suffered significant financial losses.

             WHEREFORE, Plaintiff, VIVIANA MAIQUEZ, demands judgment against Defendant,

     WAL-MART STORES EAST, LP, for damages and for such other and further relief as this Court may

     deem just and proper.

                                         DEMAND FOR JURY TRIAL

             Plaintiff, VIVIANA MAIQUEZ, demands a trial by jury as to all issues triable as of right by

    jury.

                  DESIGNATION OF PRIMARY AND SECONDARY E-MAIL ADDRESSES

             In accordance with Rule 2.515 of the Florida Rules of Judicial Administration, the undersigned

     counsel hereby designates the following as their primary and secondary e-mail addresses for service

     of all paper in connection with the above-styled action:


             James P. Gitkin, Esq.            Primary E-mail:            jimcgsalpeiergilkin.coin
                                              Secondary E-mail:          lina@salpeiergitlan.coin


             Dated this 9th day of July, 2021.
                                                              Respectfully submitted,

                                                              SALPETER GITKIN, LLP
                                                              Attorneys for Plaintiff
                                                              3864 Sheridan Street
                                                              Hollywood, FL 33021
                                                              Telephone: (954) 467-8622
                                                              Facsimile: (954) 671-5687

                                                      By:     /s/ James P. Gitkin
                                                              James P. Gitkin, Esq. (FBN: 570001)

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